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                    UNITED STATES DISTRICT COUR                                             1/27/2023
                  SOUTHERN DISTRICT OF NEW YO
------------------------------------x
PROSKAUER ROSE LLP,                  :
                                     :
                     Plaintiff,      :
                                     :    1:22-cv-10918-AT-SLC
          v.                         :
                                     :
JONATHAN O’BRIEN,                    :
                                     :
                     Defendant.      :
                                     :
------------------------------------x

                                ORDER FOR PRELIMINARY INJUNCTION

       Based on the Court’s findings that (1) Defendant Jonathan O’Brien was an officer and

employee of Plaintiff Proskauer Rose LLP (“Proskauer”) who likely misappropriated highly

sensitive and valuable trade secrets and confidential information in the days leading up to his

resignation by downloading and/or recruiting and directing his subordinates to assist him in

downloading files containing such trade secrets and confidential information to removable

media, (2) Mr. O’Brien likely has misappropriated trade secrets in violation of the Defense of

Trade Secrets Act, 18 U.S.C. § 1839(5) (“DTSA”), (3) Proskauer is likely to succeed on its

claims for trade secret misappropriation under the DTSA, and its claims for breach of fiduciary

duty under New York law, (4) Proskauer has suffered injury from the misappropriation of its

highly sensitive and valuable trade secrets and other confidential information and will continue

to suffer irreparable injury if a preliminary injunction does not issue, (5) the balance of hardships

weighs in Proskauer’s favor since the risk to Proskauer is great if the confidential trade secret

information is made public, and (6) injunctive relief would serve the public interest in protecting

corporate secrecy, and pursuant to Rule 65 of the Federal Rules of Civil Procedure, it is hereby:

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       ORDERED that Mr. O’Brien, and anyone acting in concert or participation with Mr.

O’Brien who receives notice of this Order, refrain from engaging in further acts of

misappropriation of any of Proskauer’s proprietary, confidential and/or trade secret information;

       ORDERED that Mr. O’Brien, and anyone acting in concert or participation with Mr.

O’Brien who receives notice of this Order, refrain from using, copying, reviewing, or disclosing

any of Proskauer’s proprietary, confidential, and/or trade secret information;

       ORDERED that Mr. O’Brien, and anyone acting in concert or participation with Mr.

O’Brien who receives notice of this Order, account for any and all of Proskauer’s proprietary,

confidential and/or trade secret information currently in his or her custody or control, or in the

alternative, produce for immediate inspection and imaging all computers and/or other electronic

devices belonging to, under the control of, accessible to, or operated by him, including his home

computer(s) and/or other electronic devices capable of transmitting and/or storing information;

       ORDERED that Mr. O’Brien, and anyone acting in concert of participation with Mr.

O’Brien who receives notice of this Order, is preliminarily restrained from working or consulting

for any person or business (a) to whom he has disclosed or discussed any of the materials he

copied from Proskauer’s computer systems, or (b) with whom, on or after December 5, 2022

through the date of this order, he discussed any employment or consulting arrangement and in

any way mentioned or suggested he obtained information in the course of his employment with

Proskauer.




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       IT IS FURTHER ORDERED that Proskauer is not required to provide an undertaking

in support of this injunction.

Dated: New York, New York
               27 2023
       January __,
                                        SO ORDERED

                                        _________________________
                                        Judge Analisa Torres
                                        United States District Judge




                                          3
